Case 3:17-cv-00072-NKM-JCH Document 671-10 Filed 03/09/20 Page 1 of 3 Pageid#:
                                   9219




                       Exhibit J
        Case 3:17-cv-00072-NKM-JCH Document 671-10 Filed 03/09/20 Page 2 of 3 Pageid#:
From: David Campbell <dcampbell@dhdgclaw.com>
                                           9220
Sent: Tuesday, December 10, 2019 12:51 PM
To: Michael Bloch <mbloch@kaplanhecker.com>
Subject: RE: Sines v. Kessler

Mike,

I wanted to belatedly update you on my efforts to respond to this letter. Upon receipt of your letter, I tried to contact
my client. I was unable to do so. I remain not able to communicate with my client. He has been transferred from state
custody in Virginia to Federal Custody. I am told that he is in a federal penitentiary in West Virginia (I believe Hazelton
FCI), however he is en route to his final destination at the Max Facility near Denver, Colorado. While in state custody,
Mr. Fields was able to call his mother almost daily. So I could get a hold of him promptly through mom. Now,
apparently, he can only write letters. He also cannot receive letters until he gets to his final destination. I have tried to
contact his bureau of prisons liaison but have yet to receive a response. I may need to ask the Court to enter an Order
or otherwise facilitate my ability to communicate with my client.

By way of an informal supplement – which will be formally supplemented in the future – I believe the Charlottesville
Police confiscated his cellular phone at the scene of his arrest. I believe the FBI confiscated his computer in Ohio the
same day. As for who currently possesses the electronics, I do not know. I do not believe Mr. Fields knows
either. Further, in response to your inquiry No. 1., Fields did not attend any other event outlined in your letter and
never had an in person meeting with any co-Defendant or other attendee other than at the Rally. He attempted to
direct message both David Duke and Richard Spencer. Neither responded. Fields inquired as to attending the Rally but
does not recall the specific verbiage.

I am not intentionally ignoring your communication or discovery requests. As soon as I am able to contact my client, I
will update the discovery responses as requested as best I can. I will note that Mr. Fields is appealing his state court
conviction in Virginia. So he does still have a pending criminal case.

Thanks,
Dave




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                                           9221
From: Michael Bloch <mbloch@kaplanhecker.com>
Sent: Wednesday, November 20, 2019 3:25 PM
To: David Campbell <dcampbell@dhdgclaw.com>
Subject: Sines v. Kessler

Mr. Campbell,

Please see the attached correspondence. Thanks.

Michael Bloch | Kaplan Hecker & Fink LLP
Counsel
350 Fifth Avenue | Suite 7110
New York, New York 10118
(W) 929.367.4573 | (M) 646.398.0345
mbloch@kaplanhecker.com




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